     Case 4:22-cv-04210 Document 45 Filed on 05/16/23 in TXSD Page 1 of 1
                                                                        United States District Court
                                                                           Southern District of Texas

                                                                              ENTERED
                                                                              May 17, 2023
                   UNITED STATES DISTRICT COURT                            Nathan Ochsner, Clerk

                FOR THE SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

JUSTIN PULLIAM,

            Plaintiff,

v.                                         Civil Action No. 4:22-cv-4210

COUNTY OF FORT BEND, TEXAS;
SHERIFF ERIC FAGAN, in his
individual capacity;· OFFICER ROBERT
HARTFIELD, in his individual capacity;
OFFICER JONATH AN GARCIA, in his
individual capacity; OFFICER TAYLOR
ROLLINS, in his individual capacity;
and OFFICER RICKY RODRIGUEZ, in
his individual capacity,

            Defendants.

 ORDER GRANTING PLAINTIFF'S UNOPPOSED MOTION TO EXTEND
        DISCOVERYAND MOTION CUT-OFF DEADLINES

      This matter comes before the Court on Plaintiff's Unopposed Motion to

Extend Discovery and Motion Cut-Off Deadlines (Dkt. 43).

      The motion is GRANTED. It is THEREFORE ORDERED that the Discovery

cut-off is reset to August 31, 2023, and the motions cut-off is reset to September

30, 2023.

SO ORDERED this /        L day of
                                            HonorahleJudge David Hittner
